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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                    x

In re:                                                                               Chapter 7

BMT DESIGNERS & PLANNERS, INC.,                                                      Case No. 22-10123 (MG)
fdba BMT D&P, fdba BMT fdba BMT DAS US,

                             Debtor.
                                                                x

                                        NOTICE OF ADJOURNMENT

           PLEASE TAKE NOTICE, that the hearing on the motion (“Motion”) 1 of Salvatore

LaMonica, solely in his capacity as the Chapter 7 Trustee (“Trustee”) of the estate of the Debtor, BMT

Designers & Planners Inc., by his counsel, LaMonica Herbst & Maniscalco, LLP, seeking the enton

consentder, pursuant Bankruptcy Code sections 105(a), 362, 363 and 365 and Bankruptcy Rules 4001,

6004, 6006 and 9019, to: (i) approve the Settlement Agreement, annexed to the Motion as Exhibit 1,

by and between the Trustee, on behalf of the Debtor’s estate, and Vigor Works LLC resolving all

claims between the Parties related to the Maneuver Support Vessel (Light) program; and (ii) grant

related relief in the above-referenced matter, before the Honorable Martin Glenn, Chief United States

Bankruptcy Judge, United States Bankruptcy Court, Southern District of New York (“Bankruptcy

Court”) that was scheduled for July 2, 2024 at 10:00 a.m., is now adjourned, on consent from all

parties, to Wednesday, July 31, 2024 at 2:00 p.m. (“Hearing”).

           PLEASE TAKE FURTHER NOTICE, that replies to the Motion and/or responses to the

Motion must be filed with the Bankruptcy Court and served upon so as to be received on or before

July 24, 2024 by 5:00 p.m. by Jacqulyn S. Loftin, Esq. at LaMonica Herbst & Maniscalco, LLP, 3305

Jerusalem Avenue, Suite 201, Wantagh, New York 11793.




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    Capitalized terms not otherwise defined herein shall have the definition ascribed to them in Motion.

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       PLEASE TAKE FURTHER NOTICE, that the Hearing will be conducted in a hybrid

manner. Anyone providing testimony must appear in person at the Bankruptcy Court located at

One Bowling Green, Courtroom 523, New York, New York 10004. All other parties can appear

by Zoom for Government®. See Chief Judge Glenn’s Chambers page on the Court’s website for

information   on    how      to    make    an   eCourtAppearance   and   the   link   to   do   so:

http://www.nysb.uscourts.gov/content/judge-martin-glenn. Please note that appearances must be

entered by 4:00 p.m. one (1) business day before the Hearing.

Dated: July 1, 2024
       Wantagh, New York
                                                LAMONICA HERBST & MANISCALCO, LLP
                                                Attorneys for Salvatore LaMonica, Trustee

                                          By:   s/ Jacqulyn S. Loftin
                                                Jacqulyn S. Loftin, Esq.
                                                3305 Jerusalem Avenue, Suite 201
                                                Wantagh, New York 11793
                                                Telephone:516.826.6500




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